Case 1:21-cv-11205-FDS   Document 182-111   Filed 01/06/25   Page 1 of 5




                         Exhibit 111

               February 26, 2024 Notice
                Delivery Confirmation
    Case 1:21-cv-11205-FDS       Document 182-111        Filed 01/06/25     Page 2 of 5



From:        TrackingUpdates@fedex.com
To:          Josh Weiner
Subject:     FedEx Shipment 775330266247: Your package has been delivered
Date:        2/29/2024 11:29:00 AM
CC:
BCC:

Message:
Warning: External email, use care with links & attachments




               Hi. Your package was
           delivered Thu, 02/29/2024 at
                     10:22am.



                 Delivered to 10805 OLD MILL RD, OMAHA, NE 68154

                             OBTAIN PROOF OF DELIVERY




                                            1
Case 1:21-cv-11205-FDS     Document 182-111          Filed 01/06/25   Page 3 of 5




               Delivery picture not showing? View in browser.




                  How was your delivery ?




              TRACKING NUMBER            775330266247


                             FROM        SPARTA Insurance Holdings, Inc
                                         5 Batterson Park Road
                                         3rd Floor
                                         FARMINGTON, CT, US, 06032


                               TO        Pennsylvania Insurance Company
                                         Jeffrey A. Silver
                                         10805 OLD MILL RD
                                         OMAHA, NE, US, 68154


                         SHIP DATE       Tue 2/27/2024 06:47 PM


                  DELIVERED TO           Shipping/Receiving




                                     2
 Case 1:21-cv-11205-FDS         Document 182-111           Filed 01/06/25     Page 4 of 5




                     PACKAGING TYPE            FedEx Pak


                                ORIGIN         FARMINGTON, CT, US, 06032


                         DESTINATION           OMAHA, NE, US, 68154


                    SPECIAL HANDLING           Deliver Weekday


                   NUMBER OF PIECES            1


               TOTAL SHIPMENT WEIGHT           1.00 LB


                        SERVICE TYPE           FedEx International Economy®




                                                   FedEx Delivery
                                                   Manager® puts you
                                                   in control
                                                   Enroll for free and get more visibility
                                                   and control for your deliveries from
                                                   start to finish. And if you need to
                                                   make a return, our network of
                                                   10,000+ locations makes drop off
                                                   easy.


                                                   ENROLL NOW




FOLLOW FEDEX




   Please do not respond to this message. This email was sent from an unattended mailbox.
This report was generated at approximately 10:28 AM CST 02/29/2024.


                                           3
   Case 1:21-cv-11205-FDS           Document 182-111          Filed 01/06/25         Page 5 of 5




  All weights are estimated.


  To track the latest status of your shipment, click on the tracking number above.


  Standard transit is the date and time the package is scheduled to be delivered by, based on the
  selected service, destination and ship date. Limitations and exceptions may apply. Please see
  the FedEx Service Guide for terms and conditions of service, including the FedEx Money-Back
  Guarantee, or contact your FedEx Customer Support representative.


  © 2024 Federal Express Corporation. The content of this message is protected by copyright and
  trademark laws under U.S. and international law. Review our privacy policy. All rights reserved.


  Thank you for your business.




Attachments:
      DeliveryPicture.jpeg




                                                 4
